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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 VIRGINIA L. GIUFFRE,
                                                          Case No. 15-cv-07433-LAP
                                Plaintiff,

                          vs.                             AMENDED DECLARATION OF
                                                          SIGRID S. MCCAWLEY
 GHISLAINE MAXWELL,

                                Defendant.


  I, Sigrid S. McCawley, hereby declare as follows:

        1.     I represent the Plaintiff, Virginia L. Giuffre, in the above-captioned matter.

        2.     On August 26, 2020, the Court ordered the Original Parties to serve Non-Party

Notices on all remaining Non-Parties, ECF No. 1107, and the Original Parties agreed to split

responsibility for mailing the Non-Party Notices.

        3.     On September 11, 2020, the Original Parties each filed declarations stating which

Non-Parties they had successfully served with Non-Party Notices. (ECF Nos. 1115, 1116).

        4.     Upon recent review of Plaintiff’s declaration (ECF No. 1115), we determined that

in compiling the declaration, Plaintiff’s counsel used the incorrect Non-Party pseudonyms to

identify certain Non-Parties because counsel was relying on a prior, outdated version of the Non-

Party list.

        5.     I therefore submit this amended declaration to replace Plaintiff’s initial declaration

(ECF No. 1115) and to identify the correct Non-Party pseudonyms of the Non-Parties to whom

Plaintiff sent the Non-Party Notices. Plaintiff has confirmed that this error has not had any other

impact on the unsealing process thus far.

        6.     Pursuant to this Court’s August 26, 2020, Defendant’s counsel agreed to serve the


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Non-Party Notices to J. Doe 1 through J. Doe 92, while Plaintiff’s counsel agreed to serve the

Non-Party Notices to J. Doe 93 through J. Doe 187.

           7.    Pursuant to the updated Order and Protocol for Unsealing Decided Motions,

ECF No. 1108, I used best efforts to identify the most current addresses for J. Doe 93 through J.

Doe 187.

           8.    I mailed the following documents to the Non-Parties listed in the paragraphs

below: (1) Notice to Non-Parties of Possible Unsealing of Sealed Documents, ECF No. 1044; (2)

Non-Party’s Request for Excerpts of Sealed Documents and Acknowledgement of Court Order

and Protocol Governing the Excerpts, id.; (3) Non-Party’s Objection to Unsealing, id.; and (4)

the Order and Protocol for Unsealing Decided Motions (Updated August 27, 2020). ECF No.

1108.

           9.    On September 10, 2020, I sent the Non-Party Notices via first-class certified mail

(return receipt requested) and, for international addresses, via FedEx, to the following Non-

Parties:




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                       •   J. Doe 93                                 •   J. Doe 136
                       •   J. Doe 74                                 •   J. Doe 138
                       •   J. Doe 94                                 •   J. Doe 139
                       •   J. Doe 95                                 •   J. Doe 140
                       •   J. Doe 96                                 •   J. Doe 141
                       •   J. Doe 99                                 •   J. Doe 142
                       •   J. Doe 102                                •   J. Doe 143
                       •   J. Doe 103                                •   J. Doe 144
                       •   J. Doe 105                                •   J. Doe 145
                       •   J. Doe 106                                •   J. Doe 147
                       •   J. Doe 107                                •   J. Doe 148
                       •   J. Doe 108                                •   J. Doe 150
                       •   J. Doe 109                                •   J. Doe 151
                       •   J. Doe 110                                •   J. Doe 153
                       •   J. Doe 113                                •   J. Doe 154
                       •   J. Doe 115                                •   J. Doe 155
                       •   J. Doe 118                                •   J. Doe 158
                       •   J. Doe 119                                •   J. Doe 162
                       •   J. Doe 120                                •   J. Doe 165
                       •   J. Doe 121                                •   J. Doe 166
                       •   J. Doe 122                                •   J. Doe 169
                       •   J. Doe 123                                •   J. Doe 171
                       •   J. Doe 125                                •   J. Doe 174
                       •   J. Doe 126                                •   J. Doe 175
                       •   J. Doe 127                                •   J. Doe 178
                       •   J. Doe 128                                •   J. Doe 181
                       •   J. Doe 129                                •   J. Doe 182
                       •   J. Doe 130                                •   J. Doe 183
                       •   J. Doe 131                                •   J. Doe 185
                       •   J. Doe 133                                •   J. Doe 186
                       •   J. Doe 134                                •   J. Doe 187
       10.     On September 11, I sent the Non-Party Notices via first-class certified mail (return

receipt requested) and, for international addresses, via FedEx, to the following Non-Parties:

                       •   J. Doe 97
                       •   J. Doe 101
                       •   J. Doe 116
                       •   J. Doe 164
                       •   J. Doe 170
                       •   J. Doe 176
                       •   J. Doe 179

       11.     I have not sent Non-Party Notices to the following Non-Parties because, using best

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efforts, I have been unable to locate an address for them:

                        •   J. Doe 98                                  •   J. Doe 152
                        •   J. Doe 100                                 •   J. Doe 159
                        •   J. Doe 111                                 •   J. Doe 160
                        •   J. Doe 112                                 •   J. Doe 161
                        •   J. Doe 114                                 •   J. Doe 163
                        •   J. Doe 117                                 •   J. Doe 167
                        •   J. Doe 124                                 •   J. Doe 168
                        •   J. Doe 135                                 •   J. Doe 172
                        •   J. Doe 137                                 •   J. Doe 173
                        •   J. Doe 146                                 •   J. Doe 177
                        •   J. Doe 149                                 •   J. Doe 180

       12.     I have not sent the Non-Party Notice to the following deceased Non-Parties:

                        •   J. Doe 104
                        •   J. Doe 132
                        •   J. Doe 156
                        •   J. Doe 184

I hereby declare under penalty of perjury that the foregoing statements are true and correct.

Dated: February 7, 2023                              Respectfully Submitted,


                                                     BOIES SCHILLER FLEXNER LLP


                                                     /s/ Sigrid S. McCawley
                                                     Sigrid S. McCawley
                                                     Boies Schiller Flexner LLP
                                                     401 E. Las Olas Boulevard, Suite 1200 Fort
                                                     Lauderdale, FL 33301
                                                     Tel: (954) 356-0011
                                                     Fax: (954) 356 0022
                                                     Email: smccawley@bsfllp.com

                                                     Counsel for Plaintiff, Virginia Giuffre




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